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 3
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 4
                             EASTERN DISTRICT OF CALIFORNIA
 5

 6                                         ) Case No 1:12-cr-00342-AWI-BAM-3
     UNITED STATES OF AMERICA,             )
 7                                         ) FIFTH ORDER EXTENDING
                  Plaintiff,               ) SELF-SURRENDER DATE
 8                                         )
           vs.                             )
 9                                         )
     SAM KOUNHAVONG,                       )
10                                         )
                  Defendant.               )
11

12
           The above named defendant was sentenced on September 8,
13
     2014 to a term of 24 months in custody.        For the purposes of
14
     allowing new counsel time to review this case with the defendant
15
     and to set a motion briefing schedule,
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           IT IS HEREBY ORDERED that the defendant’s previously
17
     ordered self-surrender date of April 27, 2015, is delayed until
18
     June 22, 2015. All other orders regarding sentencing remain in
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     full force and effect.
20

21   IT IS SO ORDERED.
22
     Dated: April 28, 2015
23                                      SENIOR DISTRICT JUDGE
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